Case 19-10888-KHK             Doc 68    Filed 07/28/20 Entered 07/28/20 10:38:50       Desc Main
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                                                                                   BWW#: VA-312479



                            UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

IN RE:                                             Case No. 19-10888-KHK
MARK ANTHONY ANDERSON                              Chapter 13
       Debtor

Address:         1411 Admiral Drive
                 Woodbridge, VA 22192
*       *        *        *        *    *      *     *      *      *      *       *      *       *
                                       NOTICE OF HEARING

        NewRez LLC d/b/a Shellpoint Mortgage Servicing (the "Movant"), by and through its
counsel, has filed papers with the court to grant relief from the automatic stay and co-debtor stay
in the above captioned matter.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

       If you do not want the court to grant the relief sought in the Notice of Default, or if you
want the court to consider your views on the Notice of Default, then you or your attorney must:

                Attend the hearing on the Notice of Default scheduled to be held on September 2,
                 2020, at 9:30 AM at U.S. Bankruptcy Court, 200 S. Washington St., Courtroom
                 III, Alexandria, Virginia 22314-5405.

      If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.


                                                     Respectfully Submitted,

Dated: July 28, 2020                                  /s/ Lauren French
                                                     __________________________
                                                     Lauren French, VSB# 85478
                                                     BWW Law Group, LLC
                                                     8100 Three Chopt Road, Suite 240
                                                     Richmond, VA 23229
                                                     (804) 282-0463 (phone)
                                                     (804) 282-0541 (facsimile)
                                                     bankruptcy@bww-law.com
                                                     Counsel for the Movant

_____________________________
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(804) 282-0463 (phone)
Counsel for the Movant
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                                       CERTIFICATION

       I hereby certify that on this 28th day of July, 2020 the following person(s) were or will be
served with a copy of the foregoing Notice of Motion and Notice of Hearing via the CM/ECF
system or by first class mail, postage prepaid:


Thomas P. Gorman, Trustee
300 N. Washington St. Ste. 400
Alexandria, VA 22314

Nathan Andrew Fisher, Esq.
3977 Chain Bridge Rd, #2
Fairfax, VA 22030

Mark Anthony Anderson
1411 Admiral Drive
Woodbridge, VA 22192

Lataunia Anderson
1411 Admiral Drive
Woodbridge, VA 22192


                                                     /s/ Lauren French
                                                    __________________________
                                                    Lauren French
                                                    BWW Law Group, LLC
                                                    Counsel for the Movant
                                                    Lauren French, Esq.up, LLCunsel for the
                                                    Movant
